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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:21-CV-22645-KMM

  VICTOR ARIZA,

         Plaintiff,

  vs.

  CAROLINA K. INC., a Florida
  for-profit corporation,

        Defendant.
  ________________________________/

                            PLAINTIFF’S NOTICE OF SETTLEMENT

         Plaintiff VICTOR ARIZA, by and through his undersigned Counsel, hereby provides notice

  that the parties have reached a settlement and will be executing necessary paperwork resolving all

  claims and matters in the case. Accordingly, the parties respectfully request that the Court provide

  the parties twenty (20) days from the date of filing this Notice to allow the parties to finalize the

  settlement agreement and file dismissal documents with prejudice.

         DATED: October 5, 2021.

         Respectfully submitted,

  RODERICK V. HANNAH, ESQ., P.A.                        LAW OFFICE OF PELAYO
  Counsel for Plaintiff                                 DURAN, P.A.
  4800 N. Hiatus Road                                   Co-Counsel for Plaintiff
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  By____s/ Roderick V. Hannah __                        By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                    PELAYO M. DURAN
        Fla. Bar No. 435384                                   Fla. Bar No. 0146595
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 5th day of October, 2021, I electronically filed the

  foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

  filing to:

  Joshua L. Spoont, Esq.
  Eric M. Sodhi, Esq.
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  Counsel for Defendant
  CAROLINA K, INC.

                                                /s/ Roderick V. Hannah
                                                    Roderick V. Hannah




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